Case 1:04-cv-10981-PBS Document 1475-9 Filed 10/21/08 Page 1 of 14




              EXHIBIT 8
     Case 1:04-cv-10981-PBS Document 1475-9 Filed 10/21/08 Page 2 of 14




                                                                Hoellein, Kenneth, MD 10/7/2008 12:00:00 PM
                                                       1                                                                     3

1          IN THE COURT OF COMMON PLEAS                    1                      ---
         OF PHILADELPHIA COUNTY, PENNSYLVANIA              2                    INDEX
2               CIVIL DIVISION
                                                           3                      ---
                    ---
3    GREGORY CLARK and LINDA : Civil Action                4      Testimony of: KENNETH D. HOELLEIN, M.D.
     MEASHEY, et al.,          :                           5      By Mr. Mishkin ......................5, 46
4          Plaintiffs,     :                               6      By Mr. Weston ......................17, 47
                       :
5          vs.           :                                 7                      ---
                       :                                   8                  EXHIBITS
6    PFIZER, INC., and          : JUNE TERM, 2004          9                      ---
     WARNER-LAMBERT, LLC,             :
                                                           10     EXHIBIT NUMBER            DESCRIPTION        PAGE MARKED
 7         Defendants.       : No. 1819
 8                  ---                                    11
 9           Tuesday, October 7, 2008                      12                 (None marked.)
10                  ---                                    13
11             Videotaped deposition of
                                                           14                     ---
12   KENNETH D. HOELLEIN, M.D., taken at the law
13   offices of Dechert LLP, Cira Centre, 21st             15
14   Floor, 2929 Arch Street, Philadelphia,                16
15   Pennsylvania, commencing at 9:26 a.m., before
                                                           17
16   Jennifer S. Walker, a Federally Approved
17   Registered Professional Reporter and Notary           18
18   Public.                                               19
19                                                         20
20
                                                           21
21              ---
22                                                         22
23                                                         23
24                                                         24
                ---
25                                                         25



                                                       2                                                                     4

1    APPEARANCES:                                          1              KENNETH D. HOELLEIN, M.D.
2                                                          2                 VIDEO SPECIALIST: My name is
         SACKS & WESTON
3        BY: JOHN K. WESTON, ESQUIRE                       3            Ryan Penny of Veritext. The date
         BY: CHARLES E. MANGAN, ESQUIRE                    4            today is October 7th, 2008. And the
4        114 Old York Road
         Jenkintown, Pennsylvania 19046                    5            time is approximately 9:26 a.m.
5        (215) 925-8200                                    6                 This deposition is being taken
         jweston@sackslaw.com
6        cmangan@sackslaw.com                              7            at the law office of Dechert LLP
         Representing the Plaintiffs                       8            located at 2929 Arch Street in
7
                                                           9            Philadelphia, Pennsylvania.
8
         DAVIS POLK & WARDWELL                             10                The caption of this case is
9        BY: PAUL S. MISHKIN, ESQUIRE                      11           "Clark, et al., vs. Pfizer,
         450 Lexington Avenue
10       New York, New York 10017                          12           Incorporated, et al." It's filed in
         (212) 450-4000                                    13           the Court of Common Pleas of
11       paul.mishkin@dpw.com
         Representing the Defendants                       14           Philadelphia, Pennsylvania, June Term,
12                                                         15           2004, Number 1819.
13
                                                           16                The name of the witness is
     ALSO PRESENT: RYAN PENNY, Video Specialist
14                                                         17           Dr. Kenneth D. Hoellein, M.D.
                ---                                        18                At this time, the attorneys
15
16                                                         19           will identify themselves and the
17                                                         20           parties they represent, after which
18
19                                                         21           our court reporter, Jennifer Walker of
20                                                         22           Veritext, will swear in the witness,
21
22                                                         23           and we may proceed.
23                                                         24                MR. MISHKIN: Paul Mishkin from
24                                                         25           Davis Polk & Wardwell for the
25




                                                     Unsigned                                                       Page 1 - 4
     Case 1:04-cv-10981-PBS Document 1475-9 Filed 10/21/08 Page 3 of 14




                                                                 Hoellein, Kenneth, MD 10/7/2008 12:00:00 PM
                                                        5                                                                   7

1            KENNETH D. HOELLEIN, M.D.                      1             KENNETH D. HOELLEIN, M.D.
2          defendants Pfizer and Warner-Lambert.            2      use." I imagine that's a very familiar term
3                  MR. WESTON: John Weston and              3      to you, but just to be clear, when I refer to
4          Charles Mangan from Sacks & Weston               4      an off-label use, I'm talking about a use of a
5          representing the plaintiff class.                5      drug that hasn't been specifically approved of
6                     ---                                   6      by the FDA.
7                  KENNETH D. HOELLEIN, M.D.,               7                Mr. Weston, I think, may want
8          having been first duly sworn, was                8      to state something at this point.
9          examined and testified as follows:               9                MR. WESTON: Right. As we have
10                    ---                                   10          done with this entire series of
11                  EXAMINATION                             11          depositions so far, I make my
12                    ---                                   12          objection at the beginning of the
13   BY MR. MISHKIN:                                        13          deposition, and that objection
14         Q.       Good morning, Doctor.                   14          basically is that this doctor has not
15         A.      Good morning.                            15          been identified as an expert in
16         Q.       Thank you for taking the time           16          interrogatories or otherwise.
17   to be here. Let me give you a little bit of            17               I have no report from the
18   background before we start just to let you             18          doctor. He is expressing expert
19   know what we're doing here today.                      19          opinions -- or he will, I expect --
20                 As you heard, my name is                 20          and I object to this deposition and to
21   Paul Mishkin. I represent the defendants in            21          all of the questions in it on that
22   this case. The plaintiffs have filed a                 22          basis.
23   class-action lawsuit regarding the marketing           23               MR. MISHKIN: Defendants have
24   of the drug Neurontin. And as you just heard,          24          already explained on other occasions
25   Mr. Weston and Mr. Mangan represent the                25          why they don't agree with that



                                                        6                                                                   8

1            KENNETH D. HOELLEIN, M.D.                      1             KENNETH D. HOELLEIN, M.D.
2    plaintiffs.                                            2           briefly. We think that this
3                  I'm going to be focusing with            3           deposition is permissible, that it's
4    you on your general experience using                   4           been expressly permitted by the judge.
5    Neurontin, more specifically, your experience          5           And I'd also note that we're not
6    using Neurontin to treat off-label conditions.         6           offering the doctor as a retained
7                  And let me just go over a                7           expert witness.
8    couple more points before we begin. I'm not            8      BY MR. MISHKIN:
9    going to be asking you any questions about             9           Q.    Doctor, just a couple more
10   specific patients. I'm not looking for any             10     preliminaries before we get into this. Have
11   information about specific patients, just your         11     you ever been deposed before?
12   general experience.                                    12          A.    Yes.
13                 A note on what I mean by                 13          Q.    Let me just go over some basic
14   Neurontin, I'm going to be using that in a             14     rules which may already be familiar to you. I
15   broad sense. And it would be great if you              15     think a basic one is that we should just do
16   could understand, when I use "Neurontin,"              16     our best not to speak at the same time so that
17   understand me to be referring both to branded          17     the court reporter can take down fully what
18   Neurontin and also generic gabapentin. I'm             18     we're both saying. Is that okay?
19   not trying to draw any distinction between             19          A.    Yes.
20   those two when I use the term "Neurontin." Is          20          Q.    Great. And if I ask a
21   that okay?                                             21     question, and it doesn't make sense to you, if
22         A.      That is okay.                            22     you need any kind of clarification, just let
23         Q.       Great.                                  23     me know that, and I'll rephrase the question.
24                 And then why don't we just go            24     If you need a break at any time, just let me
25   over briefly the definition of "off-label              25     know that, and we can certainly accommodate




                                                      Unsigned                                                      Page 5 - 8
     Case 1:04-cv-10981-PBS Document 1475-9 Filed 10/21/08 Page 4 of 14




                                                                 Hoellein, Kenneth, MD 10/7/2008 12:00:00 PM
                                                        9                                                                   11

1             KENNETH D. HOELLEIN, M.D.                     1               KENNETH D. HOELLEIN, M.D.
2    that.                                                  2              A.   Yes.
3                 And I think the final thing               3              Q.   Are some of the prescriptions
4    I'll mention is, that you may hear some                4      that you write for off-label uses?
5    objections over the course -- over the course          5              A.   Yes.
6    of the deposition, but, generally speaking,            6              Q.   Is that a common practice for
7    you should still go ahead and answer the               7      doctors to prescribe certain medications for
8    question. The objections generally are just            8      indications that have not been approved of by
9    for the record, and you should still go ahead          9      the FDA?
10   and give a response.                                   10             A.   Yes.
11                Let's start with some                     11             Q.   Let's go back now and do a
12   background about you. Could you just state             12     little bit more of your own background. Where
13   for the record your full name, please?                 13     did you attend medical school?
14           A.   Kenneth Donald Hoellein.                  14             A.   Thomas Jefferson University.
15           Q.    And you're a medical doctor.             15             Q.   Did part of that education
16   Is that correct?                                       16     include training that qualifies you to
17           A.   Yes, sir.                                 17     prescribe medications?
18           Q.    Where is your practice located?          18             A.   Yes.
19           A.   Northeast Philadelphia.                   19             Q.   And after medical school, did
20           Q.    And how long has your practice           20     you do a residency or an internship?
21   been in Northeast Philadelphia?                        21             A.   Yes.
22           A.   1981.                                     22             Q.   Tell me a little bit about
23           Q.    Since 1981, it's been there?             23     that.
24           A.   Yes. July 1st, 1981.                      24             A.   Three years internal medicine
25           Q.    Can you tell me what the                 25     resident Pennsylvania Hospital.



                                                       10                                                                   12

1             KENNETH D. HOELLEIN, M.D.                     1               KENNETH D. HOELLEIN, M.D.
2    general nature of your practice is?                    2              Q.   And did part of the training
3            A.   Primary care internal medicine.           3      that you received as a resident also relate to
4            Q.    And if you were going to                 4      the prescription of medications?
5    describe your specialty, how would you do              5              A.   Yes, sir.
6    that?                                                  6              Q.   Do you have any particular
7            A.   Well, primary care, so we take            7      board certifications?
8    care of the adult population with all their            8              A.   Internal medicine.
9    medical problems.                                      9              Q.   And if you could approximate it
10           Q.    How many patients do you see in          10     for me, about how long have you been
11   a typical week?                                        11     practicing medicine in total?
12           A.   250 outpatients and about 50 to           12             A.   Graduated medical school in
13   60 inpatients.                                         13     '78, opened my practice -- did three years of
14           Q.    By "inpatients," you're                  14     residency, and then have been in practice
15   referring, I assume, to patients in hospitals?         15     since 1981.
16           A.   In a hospital.                            16             Q.   If I'm doing the math
17           Q.    Is there a particular hospital           17     correctly, maybe about 27 years?
18   or set of hospitals that you're affiliated             18             A.   As a primary-care physician,
19   with?                                                  19     yes.
20           A.   Currently, I'm admitting to               20             Q.   Okay. Let's talk a bit more
21   Albert Einstein Medical Center in north                21     about off-label prescribing -- you mentioned
22   Philadelphia and Chestnut Hill Hospital in             22     that you do prescribe drugs off label?
23   northwest Philadelphia.                                23             A.   Yes.
24           Q.    As part of your practice,                24             Q.   Could you tell me approximately
25   Doctor, you write prescriptions, I take it?            25     how frequently you would prescribe a drug off




                                                      Unsigned                                                      Page 9 - 12
     Case 1:04-cv-10981-PBS Document 1475-9 Filed 10/21/08 Page 5 of 14




                                                                 Hoellein, Kenneth, MD 10/7/2008 12:00:00 PM
                                                       13                                                                   15

1             KENNETH D. HOELLEIN, M.D.                     1             KENNETH D. HOELLEIN, M.D.
2    label in your practice?                                2           Q.     Do you recall approximately
3            A.   Every day.                                3      when the first time would have been that you
4            Q.   And why, as a general matter,             4      prescribed Neurontin for neuropathic pain?
5    would you prescribe a drug off label?                  5           A.    No, I'm sorry, I don't exactly
6            A.   Expect benefit to the patient.            6      know how long it's been.
7            Q.   A general question, Doctor:               7           Q.     If you could ballpark it for
8    Would you say that you have an obligation, as          8      me, would it have been, for example, before --
9    a doctor, to exercise your own independent             9      you know, before the drug went generic or any
10   medical judgment in treating your patients?            10     other --
11           A.   Yes.                                      11          A.    Well, before the drug went
12           Q.   And that's something you do in            12     generic, yes.
13   your practice?                                         13          Q.     And a note of clarification
14           A.   Yes.                                      14     here, when we're talking about neuropathic
15           Q.   A little more specifically, do            15     pain for which you've used Neurontin, that
16   you exercise your own independent medical              16     would include neuropathic pain other than
17   judgment in prescribing medications for your           17     postherpetic neuralgia?
18   patients?                                              18          A.    Yes, sir.
19           A.   Yes.                                      19          Q.     Do you recall, in general
20           Q.   And when you're exercising that           20     terms, what led you originally to prescribe
21   independent medical judgment in deciding what          21     Neurontin for neuropathic pain?
22   to prescribe, would you -- or do you weigh the         22          A.    The success with postherpetic
23   potential benefits of a particular treatment           23     neuralgia and, therefore, the same
24   against the potential risks of that treatment?         24     pathophysiology and other neuropathic pain
25           A.   The decision is made every day,           25     syndromes.



                                                       14                                                                   16

1             KENNETH D. HOELLEIN, M.D.                     1             KENNETH D. HOELLEIN, M.D.
2    yes.                                                   2           Q.     You continue today to prescribe
3            Q.   Let's turn now to Neurontin.              3      Neurontin for neuropathic pain?
4    Am I correct that you prescribe Neurontin?             4           A.    Yes.
5            A.   Yes, I do.                                5           Q.     And why is that?
6            Q.   You understand that Neurontin             6           A.    There's benefit to the patient.
7    has been approved for adjunctive treatment of          7           Q.     Let me ask you, Doctor: Since
8    epilepsy and also for treatment of                     8      you've started prescribing Neurontin for
9    postherpetic neuralgia?                                9      neuropathic pain -- well, withdrawn. Let me
10           A.   Yes, I do.                                10     just ask it more simply.
11           Q.   Do you prescribe Neurontin for            11                About how many patients have
12   any off-label uses?                                    12     you prescribed Neurontin for neuropathic pain?
13           A.   Yes.                                      13          A.    That's hard to say. Hundreds
14           Q.   Can you tell me what those are?           14     and hundreds probably.
15           A.   Mainly diabetic peripheral                15          Q.     And after you first began
16   neuropathy and other causes of neuropathic             16     prescribing Neurontin for neuropathic pain,
17   pain.                                                  17     was your observation of Neurontin's
18           Q.   Does it work if I refer                   18     performance with prior patients a basis on
19   generally to that category, that is,                   19     which you evaluated it going forward for
20   neuropathic pain?                                      20     future prescriptions?
21           A.   Yes.                                      21          A.    Yes.
22           Q.   Have you found that Neurontin             22          Q.     And if Neurontin hadn't been
23   can be an effective treatment for neuropathic          23     effective at all for neuropathic pain in your
24   pain?                                                  24     prior patients, would you continue to
25           A.   Yes, I have.                              25     prescribe it for neuropathic pain?




                                                      Unsigned                                                     Page 13 - 16
     Case 1:04-cv-10981-PBS Document 1475-9 Filed 10/21/08 Page 6 of 14




                                                               Hoellein, Kenneth, MD 10/7/2008 12:00:00 PM
                                                     17                                                                    19

1           KENNETH D. HOELLEIN, M.D.                     1               KENNETH D. HOELLEIN, M.D.
2         A.      Absolutely not.                         2      questions?
3         Q.       When you prescribe Neurontin           3              A.   Yes.
4    for neuropathic pain, is that based on your          4              Q.   And then he asked you if you
5    independent medical judgment that it's an            5      would like to do a deposition?
6    appropriate treatment for neuropathic pain?          6              A.   He asked me if I would do a
7         A.      Yes.                                    7      deposition, and I agreed.
8         Q.       And you continue to believe            8              Q.   All right. And, now, are you
9    that Neurontin can be a safe and effective           9      doing this deposition for free?
10   treatment for neuropathic pain?                      10             A.   Yes, I am.
11        A.      Yes.                                    11             Q.   You're not getting paid for
12        Q.       Doctor, just a couple more             12     this?
13   questions.                                           13             A.   No, I am not.
14             If you recall, have you ever               14             Q.   You're not being compensated in
15   been detailed by Pfizer or Warner-Lambert's          15     any way for doing this deposition?
16   sales representatives regarding Neurontin?           16             A.   No, I am not.
17        A.      Yes.                                    17             Q.   Why are you doing it for free?
18        Q.       And did any of that detailing          18             A.   Because I believe in the drug.
19   focus on off-label uses?                             19             Q.   And so because you believe in
20        A.      Never.                                  20     the drug, you have devoted your time today to
21             MR. MISHKIN: Doctor, that's                21     this deposition?
22        all I'm going to have for you at this           22             A.   I haven't thought about all my
23        point.                                          23     motivations. I just agreed to do it.
24   BY MR. WESTON:                                       24             Q.   You're not going to be
25        Q.       Hi, Doctor, I'm John Weston.           25     compensated for the time that you've lost at



                                                     18                                                                    20

1           KENNETH D. HOELLEIN, M.D.                     1               KENNETH D. HOELLEIN, M.D.
2              Did you speak to any of the                2      your practice?
3    lawyers from Pfizer before today?                    3              A.   Not to my knowledge.
4         A.      Yes.                                    4              Q.   Other than Mr. Roche's first
5         Q.       Tell me something about that.          5      phone call, did you speak to anyone from
6    How did you -- when did they first call you          6      Pfizer after that about this deposition?
7    about this deposition?                               7              A.   No. The only contact I've had
8         A.      When? I don't recall. A month           8      was with Mr. Roche.
9    or so, six weeks maybe.                              9              Q.   Do you happen to own stock in
10        Q.       All right. And do you remember         10     either Pfizer or the old Warner-Lambert?
11   who it was who called you?                           11             A.   Not to my knowledge.
12        A.      Yes. I have a message in my             12             Q.   Now, if I understood your
13   office. I don't remember the exact name.             13     testimony correctly, you first prescribed
14   Maybe Roche. Does that sound familiar?               14     Neurontin for an off-label use because you had
15        Q.       Chris Roche.                           15     prescribed it for postherpetic neuralgia. Is
16             And you spoke to Mr. Roche?                16     that correct?
17        A.      On the phone.                           17             A.   That is correct.
18        Q.       And what did he say?                   18             Q.   Did you prescribe it for
19        A.      He just asked me some general           19     postherpetic neuralgia that first time after
20   questions about my use of Neurontin.                 20     the FDA had approved it for that indication
21        Q.       What kind of questions?                21     or -- I mean, for that condition or before the
22        A.      Do I use it, do I have                  22     FDA had approved it for that condition?
23   experience with it, have I used it for               23             A.   It would have been after the
24   off-label reasons.                                   24     FDA approved it.
25        Q.       And you responded to his               25             Q.   Do you remember when it was




                                                    Unsigned                                                      Page 17 - 20
     Case 1:04-cv-10981-PBS Document 1475-9 Filed 10/21/08 Page 7 of 14




                                                                 Hoellein, Kenneth, MD 10/7/2008 12:00:00 PM
                                                       21                                                                    23

1             KENNETH D. HOELLEIN, M.D.                     1               KENNETH D. HOELLEIN, M.D.
2    that the FDA approved it?                              2              Q.     Well, that's -- that's what
3          A.     No, I do not know exactly.                3      we're talking about, is what goes into your
4          Q.     But since that date, you have             4      independent medical judgment.
5    prescribed it to hundreds and hundreds of              5              A.    Multiple things.
6    patients?                                              6              Q.     Tell me what they are.
7          A.     Yes.                                      7              A.    Could be discussions with
8          Q.     Would you tell us what your               8      specialists, could be journals, could be my
9    thought process was that would make you                9      own experience. I'm sure all three apply
10   believe that Neurontin would be effective for          10     here. But if you're asking me that far long
11   off-label conditions other than postherpetic           11     ago which one was the most important at that
12   neuralgia?                                             12     time, I do not recall.
13         A.     Same pathophysiology. For                 13             Q.     Have you kept up with
14   instance, diabetic peripheral neuropathy.              14     the literature on Neurontin since that time?
15         Q.     I'm sorry?                                15             A.    I hope so.
16         A.     The same pathophysiology of               16             Q.     Well, have you or haven't you?
17   nerve damage. So, for instance, postherpetic           17             A.    Yes.
18   neuralgia being the nerve being damaged by the         18             Q.     What have you read?
19   zoster virus. And in diabetes, the nerve               19             A.    Well, the main -- the most
20   being damaged by the diabetic state. The               20     recent thing was actually Lyrica versus
21   pathophysiologies are very similar.                    21     Neurontin when Lyrica was being approved as a
22         Q.     All right. Mr. Mishkin this               22     seizure drug, postherpetic neuralgia drug and
23   morning asked you about your independent               23     a diabetic peripheral neuropathy drug. So
24   medical judgment, and I'd like to go into that         24     that's the most recent thing that I've kept up
25   just a little bit.                                     25     with, Lyrica versus Neurontin head-to-head



                                                       22                                                                    24

1             KENNETH D. HOELLEIN, M.D.                     1               KENNETH D. HOELLEIN, M.D.
2                Before you prescribed Neurontin            2      data.
3    the first time, you did it for an off-label            3              Q.     What studies are you aware of
4    use other than -- well, for an off-label use.          4      that have shown that Neurontin is effective
5    You did not conduct your own double-blind              5      for neuropathic pain as opposed to what
6    placebo-controlled study to see if it would            6      studies showed it's not effective for
7    work for an off-label use, did you?                    7      neuropathic pain?
8          A.     No, I did not.                            8              A.    I don't know --
9          Q.     Did you read any studies or               9                    MR. MISHKIN: Objection.
10   other literature about how Neurontin could be          10                   You can answer the question if
11   effective for off-label use?                           11             you understand it.
12         A.     Specifically, I can't answer              12                   THE WITNESS: Yeah, I don't
13   that. I don't remember that. Generally,                13             know which -- any specific studies
14   there's lots of articles, lots of journal              14             saying that.
15   articles, so there's a good chance that I did.         15     BY MR. WESTON:
16         Q.     But you don't remember whether            16             Q.     So you don't remember either
17   you did?                                               17     type of study?
18         A.     I don't remember specifically.            18             A.    No.
19   It would have been a while ago.                        19             Q.     Have you heard about the FDA's
20         Q.     Did one -- did one of your                20     consideration of the suicide side effects of
21   colleagues recommend Neurontin to you even for         21     AEDs?
22   the postherpetic neuralgia, which was not an           22                   MR. MISHKIN: Objection.
23   off-label use at the time?                             23                   Go ahead.
24         A.     I don't recall. I probably                24                   THE WITNESS: Not specifically,
25   made an independent medical judgment.                  25             no.




                                                      Unsigned                                                      Page 21 - 24
     Case 1:04-cv-10981-PBS Document 1475-9 Filed 10/21/08 Page 8 of 14




                                                                 Hoellein, Kenneth, MD 10/7/2008 12:00:00 PM
                                                       25                                                                    27

1             KENNETH D. HOELLEIN, M.D.                     1             KENNETH D. HOELLEIN, M.D.
2    BY MR. WESTON:                                         2      salespeople did not say -- well, they did not
3            Q.    Now, no one knows the mechanism          3      detail you on off-label uses of Neurontin. Is
4    of action of Neurontin. Is that correct?               4      that accurate?
5            A.    I'm not sure I would agree with          5           A.     That is accurate.
6    that.                                                  6           Q.     Did you ever ask them about
7            Q.    Isn't it true that the label             7      off-label uses of Neurontin?
8    insert that comes with Neurontin now                   8           A.     No, I did not. My experience
9    explicitly says that the mechanism of action           9      with salespeople is, they're taught to stick
10   is unknown?                                            10     to the FDA approval. That has been my
11           A.    Yes, but I think common sense            11     experience.
12   would tell you it would work similar to                12          Q.     Did you ever have questions for
13   Lyrica, and I think we know how Lyrica works.          13     them about off-label use?
14           Q.    Well, they should change the             14          A.     No, nor would I ask them. I
15   label, then, probably.                                 15     would find that out and deal with that myself.
16                MR. MISHKIN: Objection.                   16          Q.     How would you deal with it if
17   BY MR. WESTON:                                         17     you had questions?
18           Q.    You have been detailed, you              18          A.     Medical inquiry, look it up.
19   testified, by salespeople from either                  19          Q.     You say a "medical inquiry."
20   Warner-Lambert or Pfizer on Neurontin. Is              20     What would that be?
21   that right?                                            21          A.     In this day and age, you can go
22           A.    Yes, many years ago.                     22     to UpToDate and look for references.
23           Q.    Tell us about that. Did you              23          Q.     You mean on a computer search,
24   meet with the salesmen?                                24     for example?
25           A.    Generally, you do. I don't               25          A.     Yes.



                                                       26                                                                    28

1             KENNETH D. HOELLEIN, M.D.                     1             KENNETH D. HOELLEIN, M.D.
2    know if you know how primary-care offices              2           Q.     All right. Do you know what
3    work. We meet with sales representatives, but          3      a -- are you familiar with the term "medical
4    basically it's a fairly short interaction.             4      liaison"?
5    "Here's my medication. Here's the study                5           A.     Yes.
6    showing the efficacy and FDA approval. Here's          6           Q.     What is a medical liaison?
7    the -- in this day and age, here's the most            7           A.     Are you referring to
8    important concept, is it covered on the                8      specifically pharmaceutical companies?
9    prescription plans."                                   9           Q.     Yes, I am.
10                That's pretty much it. If                 10          A.     Generally, they're
11   that's what you mean by "tell you about it," I         11     scientific-based trained and -- or is a
12   don't know if that answers your question.              12     liaison between the physician and sales
13           Q.    That's a good start.                     13     representatives with more detailed and
14                Do you remember having such               14     scientific explanations of certain medication.
15   meetings with Pfizer or Warner-Lambert                 15          Q.     And they are employed by the
16   salespeople regarding Neurontin?                       16     pharmaceutical companies to answer questions
17           A.    I don't remember specifically.           17     that physicians such as yourself might have
18   It's been many years. I haven't detailed               18     about a drug's use --
19   Neurontin for quite a while.                           19          A.     Yes, they are.
20           Q.    Would this have been before or           20          Q.     -- is that accurate?
21   after Neurontin -- the first such sales call,          21          A.     Yes, they are.
22   would it have been before or after Neurontin           22          Q.     Have you ever consulted with a
23   was approved for postherpetic neuralgia?               23     pharmaceutical company's medical liaison?
24           A.    I don't recall specifically.             24          A.     Yes.
25           Q.    You also testified that the              25          Q.     Have you ever consulted with




                                                      Unsigned                                                      Page 25 - 28
     Case 1:04-cv-10981-PBS Document 1475-9 Filed 10/21/08 Page 9 of 14




                                                                 Hoellein, Kenneth, MD 10/7/2008 12:00:00 PM
                                                       29                                                                  31

1             KENNETH D. HOELLEIN, M.D.                     1              KENNETH D. HOELLEIN, M.D.
2    either Warner-Lambert or Pfizer's medical              2      certain studies it may have been. I can't
3    liaisons?                                              3      give you exact details. You're asking me to
4         A.     No, I have not.                            4      remember a fairly long time ago.
5         Q.     So you have not consulted a                5             Q.    I am, but that's, I guess, my
6    medical liaison regarding Neurontin. Right?            6      point. It could have been one of those other
7         A.     No, I have not.                            7      things?
8         Q.     Have you ever had any questions            8             A.   It could have been, yes.
9    about Neurontin that you can recall that you           9             Q.    It could have been more than
10   needed to consult someone or something else            10     one of those other things?
11   about?                                                 11            A.   That's correct.
12        A.     No. I have a great deal of                 12            Q.    All right.
13   experience with the drug.                              13                 Do you know what a speaker's
14        Q.      And just so that my                       14     bureau is?
15   understanding is clear, your experience with           15            A.   Yes.
16   the drug is based solely on the fact that you          16            Q.    What is it?
17   used it for an approved use and deduced that           17            A.   You -- a speaker's bureau is
18   it could successfully be used for similar              18     when you get signed by pharmaceutical
19   unapproved uses. Is that right?                        19     companies to speak for a certain product after
20               MR. MISHKIN: Objection.                    20     training.
21               THE WITNESS: If you mean it's              21            Q.    Have you ever been a speaker?
22        based on my clinical experience, is               22            A.   Oh, yes, I have.
23        that what you're --                               23            Q.    Have you? Have you ever been a
24               MR. WESTON: No, no.                        24     speaker for Warner-Lambert or Pfizer?
25               THE WITNESS: Yes, it is based              25            A.   Yes.



                                                       30                                                                  32

1             KENNETH D. HOELLEIN, M.D.                     1              KENNETH D. HOELLEIN, M.D.
2         on my clinical experience.                        2             Q.    How many times have you been a
3                MR. WESTON: That's not the                 3      speaker for Warner-Lambert or Pfizer?
4         question I'm asking you.                          4             A.   I don't know how many times.
5    BY MR. WESTON:                                         5      Several.
6         Q.     The first time that you                    6             Q.    Would it have been --
7    prescribed Neurontin, you prescribed it for an         7             A.   Are you talking about
8    approved use, diabetic neuropathy?                     8      individual speeches or...?
9         A.     Postherpetic neuralgia.                    9             Q.    Individual speeches.
10        Q.     Postherpetic neuralgia, I'm                10            A.   Several.
11   sorry. That was an approved use when you               11            Q.    More than 20?
12   prescribed it?                                         12            A.   I don't know if it's been that
13        A.     That's correct.                            13     many, but I can count it.
14        Q.     You decided after that that you            14            Q.    Do you remember when you were
15   could prescribe it for off-label unapproved            15     first retained as a speaker for -- by
16   uses?                                                  16     Neurontin -- I mean, by Warner-Lambert or
17        A.     That's correct.                            17     Pfizer?
18        Q.      And that was based, as I                  18            A.   My first was with probably
19   understood your testimony, solely upon the             19     either Lyrica or Relpax, when those drugs came
20   fact that it worked, it was efficacious for            20     out.
21   that first patient?                                    21            Q.    Were you ever a speaker for
22        A.     Well, you're asking me to                  22     Neurontin?
23   remember many, many, many years ago, but it            23            A.   No, I was not.
24   could have been based for other reasons as             24            Q.    When you were a speaker --
25   well; speaking with other physicians or for            25     well, what other drugs have you been a speaker




                                                      Unsigned                                                    Page 29 - 32
     Case 1:04-cv-10981-PBS Document 1475-9 Filed 10/21/08 Page 10 of 14




                                                                Hoellein, Kenneth, MD 10/7/2008 12:00:00 PM
                                                      33                                                                   35

1            KENNETH D. HOELLEIN, M.D.                     1             KENNETH D. HOELLEIN, M.D.
2    for?                                                  2                 MR. MISHKIN: I'm going to
3           A.   Lipitor, Lyrica and Relpax.               3           object here. I think we're getting,
4           Q.   Just those three?                         4           obviously, away from Neurontin.
5           A.   Yes.                                      5           You're asking about his own experience
6           Q.   Those are all Pfizer or                   6           with training for the other drugs
7    Warner-Lambert?                                       7           you've spoken of?
8           A.   Yes.                                      8                 MR. WESTON: I am.
9           Q.   Have you ever been a speaker              9                 MR. MISHKIN: Okay. I maintain
10   for another pharmaceutical company?                   10          my objection, but go ahead.
11          A.   Yes.                                      11                THE WITNESS: Generally, you
12          Q.   Which one?                                12          go, and they present all the data.
13          A.   Abbott and, prior to that, Kos.           13     BY MR. WESTON:
14   For Niaspan.                                          14          Q.     Who presents all the data?
15          Q.   Could you spell "Kos"?                    15          A.    Usually, two groups of people;
16          A.   K-O-S.                                    16     the people who did the original studies, the
17          Q.   And what drugs for those                  17     scientific basic research people, and then
18   companies?                                            18     they bring in clinicians who have either
19          A.   Niaspan. Niaspan and now                  19     recruited patients or worked with some of the
20   SIM -- now SIMCOR.                                    20     studies.
21          Q.   Now, when you said that you had           21          Q.     And clinicians would be
22   been a speaker possibly as many as 20 times,          22     physicians such as yourself?
23   does that include when you were a speaker for         23          A.    Yes.
24   those pharmaceutical companies?                       24          Q.     Primary-care physicians, for
25          A.   No, it's been much more for               25     example?



                                                      34                                                                   36

1            KENNETH D. HOELLEIN, M.D.                     1             KENNETH D. HOELLEIN, M.D.
2    Niaspan.                                              2           A.    Or specialists depending on
3           Q.   How much --                               3      what the drug -- the medications.
4                REPORTER: I'm sorry, repeat               4           Q.     How long does such a training
5           your answer.                                   5      session typically last?
6                THE WITNESS: I'm sorry?                   6                 MR. MISHKIN: Let me just make
7                REPORTER: Repeat your answer.             7           a general objection, a continuing
8                THE WITNESS: No, it's been                8           objection to these questions that
9           many more times for Niaspan than it            9           don't have to do with Neurontin.
10          has been for Pfizer.                           10                Go ahead.
11   BY MR. WESTON:                                        11                THE WITNESS: Depends on the
12          Q.   So a hundred times for Niaspan?           12          medication. If it's a fairly
13          A.   I don't think that many.                  13          straightforward head-to-head study
14          Q.   Let's go back to when you were            14          like Relpax versus Imitrex, for
15   a speaker for Pfizer. When was the most               15          instance, it would be four hours.
16   recent time that you've spoken for Pfizer?            16                If it's a more complicated
17          A.   Probably about three months               17          outcome-based, significant
18   ago, for Lyrica.                                      18          outcome-based study like Lipitor, it
19          Q.   Where did you speak?                      19          would be a couple of days.
20          A.   I spoke at a restaurant.                  20     BY MR. WESTON:
21          Q.   In Philadelphia?                          21          Q.     This training occurs at
22          A.   In Philadelphia, Chestnut Hill.           22     Pfizer's office?
23          Q.   What sort of training or                  23          A.    No. Most of the training
24   background information, whatever, does Pfizer         24     occurs in a hotel setting or conference
25   give you to be a speaker?                             25     setting.




                                                     Unsigned                                                     Page 33 - 36
     Case 1:04-cv-10981-PBS Document 1475-9 Filed 10/21/08 Page 11 of 14




                                                                 Hoellein, Kenneth, MD 10/7/2008 12:00:00 PM
                                                       37                                                                   39

1             KENNETH D. HOELLEIN, M.D.                     1               KENNETH D. HOELLEIN, M.D.
2           Q.   Pfizer subsequently arranges               2      since then?
3    for your speeches?                                     3             A.   Again, it's a vague question.
4           A.   Yes.                                       4      The continuing medical-education course is not
5           Q.   How much do you get paid for               5      in pharmacology, it's in disease states. And
6    those?                                                 6      there's therapeutic interventions that have
7           A.   Generally --                               7      been looked at and studied. It's not
8                MR. MISHKIN: Another                       8      specifically pharmacology. I'm not sure
9           continuing objection.                           9      that's a fair question.
10               THE WITNESS: -- $500.                      10            Q.    Have you gone to a course --
11   BY MR. WESTON:                                         11     continuing medical-education course since med
12          Q.   Per speech?                                12     school that was entitled "Pharmacology"?
13          A.   (Nodding.)                                 13            A.   No, nor do I think they offer
14          Q.   What's pharmacology, Doctor?               14     one.
15          A.   What's pharmacology? It's the              15            Q.    Have you ever conducted a
16   study of pharmacologic substances.                     16     double-blind placebo-controlled study?
17          Q.   Study of how drugs work. Would             17            A.   No.
18   that be accurate?                                      18            Q.    Have you ever participated in a
19          A.   I'm not sure that's an exact               19     double-blind placebo-controlled study?
20   definition, but that's as good as the next             20            A.   With patient recruitment.
21   one.                                                   21            Q.    What's that?
22          Q.   What's been your formal                    22            A.   That means you sign up patients
23   pharmacological training?                              23     for it, but you don't conduct it.
24          A.   Medical school.                            24            Q.    When you sign up patients for a
25          Q.   How much pharmacology did you              25     study, do you receive any financial benefit



                                                       38                                                                   40

1             KENNETH D. HOELLEIN, M.D.                     1               KENNETH D. HOELLEIN, M.D.
2    get in med school?                                     2      from the pharmaceutical company for signing up
3           A.   I'm not sure how to answer that            3      the patients?
4    question because it's sprinkled throughout the         4             A.   Not the couple that I did, no.
5    entire training both from a basic science              5             Q.    Did you see the "Dateline" show
6    standpoint to a clinical standpoint to the             6      on Neurontin?
7    specific etiologies of each disease state,             7             A.   No, I did not.
8    whether it be cardiology, pulmonology.                 8             Q.    Have you heard about it?
9    Pharmacology goes throughout the entire...             9             A.   Yes.
10          Q.   Did you have a course entitled             10            Q.    What did you hear about it?
11   "Pharmacology"?                                        11                 MR. MISHKIN: Objection.
12          A.   There was a specific course in             12                 Go ahead.
13   pharmacology, but that's why your question's           13                 THE WITNESS: Is there a
14   vague because it goes throughout -- it keeps           14            problem with Neurontin for other
15   coming back when you talk about a disease              15            people.
16   state.                                                 16     BY MR. WESTON:
17          Q.   The topic of pharmacology comes            17            Q.    How did you hear about it?
18   up frequently. I understand that.                      18            A.   Patients.
19          A.   Yes, sir.                                  19            Q.    What did you respond when they
20          Q.   My question was: Basically,                20     asked you?
21   how many courses did you have in it?                   21                 MR. MISHKIN: Continuing
22          A.   That's not what you asked me,              22            objection to this line of questioning.
23   but the -- one course in pharmacology.                 23                 Go ahead.
24          Q.   Have you had any continuing                24                 THE WITNESS: My answer is, I
25   medical-education courses in pharmacology              25            have not had that experience, and the




                                                      Unsigned                                                     Page 37 - 40
     Case 1:04-cv-10981-PBS Document 1475-9 Filed 10/21/08 Page 12 of 14




                                                                Hoellein, Kenneth, MD 10/7/2008 12:00:00 PM
                                                      41                                                                    43

1              KENNETH D. HOELLEIN, M.D.                   1             KENNETH D. HOELLEIN, M.D.
2          FDA has not approval -- approval of             2           Q.     Would you tell us?
3          the drug.                                       3                MR. MISHKIN: I'm going to
4    BY MR. WESTON:                                        4           object. I'm not sure of the
5          Q.     When you prescribe Neurontin             5           relevance, but go ahead.
6    for an off-label use, do you tell your                6                THE WITNESS: Malpractice
7    patients that it's an off-label use?                  7           cases.
8          A.    Sometimes yes, and sometimes              8      BY MR. WESTON:
9    no.                                                   9           Q.     Were they testifying as an
10         Q.     What would -- what would make            10     expert or as a party?
11   you do it in one instance and not in another?         11          A.     As a party.
12         A.    The interest level of the                 12          Q.     Was it yourself that you were
13   patient.                                              13     defending in those cases?
14         Q.     Do you know, Doctor, why they            14          A.     Yes.
15   have double-blind placebo-controlled studies?         15          Q.     Were they in Philadelphia
16         A.    Yes.                                      16     County courts, federal courts or some other
17         Q.     Why?                                     17     courts?
18         A.    Prove an outcome.                         18               MR. MISHKIN: I'm going to
19         Q.     Okay. What's the purpose of              19          object again. I really don't see the
20   doing it double-blind and placebo-controlled?         20          relevance of this.
21         A.    No bias.                                  21               THE WITNESS: Philadelphia
22         Q.     To filter out other factors              22          County.
23   that might be causing a positive response?            23     BY MR. WESTON:
24         A.    Yes.                                      24          Q.     How long ago were the
25               MR. WESTON: Let's go off the              25     depositions?



                                                      42                                                                    44

1              KENNETH D. HOELLEIN, M.D.                   1             KENNETH D. HOELLEIN, M.D.
2          record for just a second.                       2           A.     One was just recently, and one
3                VIDEO SPECIALIST: The time is             3      was about ten years ago.
4          9:58. We're going off the video                 4           Q.     Is the recent case concluded?
5          record.                                         5           A.     No.
6                    ---                                   6           Q.     Did the one ten years ago
7                (Recess 9:58-10:04 a.m.)                  7      conclude?
8                    ---                                   8           A.     Yes.
9                VIDEO SPECIALIST: One moment,             9           Q.     You testified throughout this
10         please. The time is 10:04. We're                10     deposition that you prescribed Neurontin for
11         back on the video record.                       11     neuropathic pain. Have you prescribed it for
12   BY MR. WESTON:                                        12     any other off-label use?
13         Q.     Doctor, I have just a few very           13          A.     No.
14   disconnected additional questions to ask you,         14          Q.     Have you prescribed it for any
15   if I may.                                             15     approved use?
16               You did mention that you had              16          A.     Postherpetic neuralgia.
17   been deposed on other occasions. Do you               17          Q.     Besides postherpetic neuralgia.
18   recall that?                                          18          A.     A couple patients who are on it
19         A.    Yes.                                      19     as adjunctive treatment in a seizure disorder.
20         Q.     How often have you been                  20          Q.     Which is what it was originally
21   deposed?                                              21     approved for?
22         A.    Twice.                                    22          A.     (Nodding.)
23         Q.     What were the cases? Do you              23          Q.     Do you know what doses you
24   recall?                                               24     prescribed it to those patients at?
25         A.    Yes.                                      25          A.     Which condition?




                                                     Unsigned                                                      Page 41 - 44
     Case 1:04-cv-10981-PBS Document 1475-9 Filed 10/21/08 Page 13 of 14




                                                                Hoellein, Kenneth, MD 10/7/2008 12:00:00 PM
                                                      45                                                                    47

1             KENNETH D. HOELLEIN, M.D.                    1             KENNETH D. HOELLEIN, M.D.
2         Q.      The adjunctive use for                   2      which is probably my average dose.
3    epileptic seizures.                                   3           Q.     Have you found in your
4         A.      1,800 milligram.                         4      experience that, for some patients, it's more
5         Q.      Have you prescribed it for any           5      appropriate to prescribe in excess of
6    approved or unapproved use at dosages higher          6      1,800 milligrams a day?
7    than that?                                            7           A.    Absolutely. Absolutely.
8         A.      Higher than 1,800 milligram?             8           Q.     And those decisions to
9         Q.      Yes.                                     9      prescribe in excess of 1,800 milligrams per
10        A.      Yes, I have.                             10     day, is that based on your past experience
11        Q.      Would you tell us for which              11     seeing, in some cases, increased efficacy
12   uses and what dosages?                                12     above 1,800 milligrams per day?
13        A.      Mainly for the neuralgia, for            13          A.    Yes.
14   neuropathic pain cases. I've gone as high as          14          Q.     And your decision to prescribe
15   3,200.                                                15     in excess of 1,800 milligrams per day are
16        Q.      Have your patients shown any             16     based on your own independent medical
17   side effects at 3,200?                                17     judgment?
18        A.      No.                                      18          A.    Yes.
19        Q.      Have you ever taken a patient            19               MR. MISHKIN: Doctor, thanks.
20   off Neurontin once you've placed him on it,           20          That's all I've got.
21   Doctor?                                               21               MR. WESTON: One more question,
22        A.      Yes.                                     22          if I may, Doctor.
23        Q.      Why?                                     23     BY MR. WESTON:
24        A.      Usual reasons; economics in              24          Q.     When you prescribe Neurontin
25   this day and age, lack of effectiveness, some         25     for pain, do you prescribe it as monotherapy



                                                      46                                                                    48

1             KENNETH D. HOELLEIN, M.D.                    1             KENNETH D. HOELLEIN, M.D.
2    patients complain of some side effects.               2      or as adjunctive therapy?
3         Q.      Do you still prescribe                   3           A.    That's a hard question to
4    Neurontin as frequently as you did before             4      answer. If you're talking about postherpetic
5    Lyrica came out?                                      5      neuralgia or diabetic peripheral neuropathy, I
6         A.      Unfortunately, yes.                      6      would consider it as monotherapy. Now, many
7         Q.      Why is that unfortunate?                 7      times, these patients are also on other
8         A.      Because I can't get the                  8      medications, like nonsteroidals or narcotics.
9    coverage for Lyrica. Keystone Mercy Health            9      So that's a hard question to answer.
10   Partners.                                             10          Q.     So they're taking more than one
11               MR. WESTON: All right. I                  11     drug simultaneously?
12        don't have any other questions for the           12          A.    I'm internal medicine. All my
13        doctor.                                          13     patients are taking more than one drug.
14               MR. MISHKIN: Doctor, just --              14               MR. WESTON: All right. Thank
15        just a couple follow-ups.                        15          you, Doctor.
16   BY MR. MISHKIN:                                       16               MR. MISHKIN: I think we're
17        Q.      You mentioned sometimes                  17          done.
18   prescribing Neurontin at dosages of                   18               VIDEO SPECIALIST: The time is
19   3,200 milligrams?                                     19          10:10. That concludes the videotaped
20        A.      Yes.                                     20          deposition of Dr. Kenneth Hoellein.
21        Q.      Why would you sometimes                  21                   ---
22   prescribe Neurontin at dosages of                     22               (Witness excused.)
23   3,200 milligrams for neuropathic pain?                23                   ---
24        A.      They're better, but not a                24               (Deposition concluded at 10:10
25   hundred percent better than 1,800 milligrams,         25          a.m.)




                                                     Unsigned                                                      Page 45 - 48
     Case 1:04-cv-10981-PBS Document 1475-9 Filed 10/21/08 Page 14 of 14




                                                                 Hoellein, Kenneth, MD 10/7/2008 12:00:00 PM
                                                       49                                                                   51

1           CERTIFICATE                                     1                      ---
2          I hereby certify that the witness                2                  ERRATA
3    was duly sworn by me and that the deposition           3                      ---
4    is a true record of the testimony given by the         4      PAGE       LINE       CHANGE
5    witness.                                               5      _____     _____ ___________________________
6                                                           6      _____     _____ ___________________________
7                                                           7      _____     _____ ___________________________
8               _____________________________               8      _____     _____ ___________________________
                Jennifer S. Walker, RPR                     9      _____     _____ ___________________________
9               Dated: October 7, 2008
                                                            10     _____     _____ ___________________________
10
                                                            11     _____     _____ ___________________________
11   (The foregoing certification of this
                                                            12     _____     _____ ___________________________
12   transcript does not apply to any reproduction
                                                            13     _____     _____ ___________________________
13   of the same by any means, unless under the
                                                            14     _____     _____ ___________________________
14   direct control and/or supervision of the
                                                            15     _____     _____ ___________________________
15   certifying shorthand reporter.)
                                                            16     _____     _____ ___________________________
16
                                                            17     _____     _____ ___________________________
17
                                                            18     _____     _____ ___________________________
18
19                                                          19     _____     _____ ___________________________
20                                                          20     _____     _____ ___________________________
21                                                          21     _____     _____ ___________________________
22                                                          22     _____     _____ ___________________________
23                                                          23     _____     _____ ___________________________
24                                                          24
25                                                          25     _____     _____ ___________________________



                                                       50                                                                   52

1          INSTRUCTIONS TO WITNESS                          1              ACKNOWLEDGEMENT OF DEPONENT
2          Please read your deposition over                 2              I, KENNETH D. HOELLEIN, M.D., do
3    carefully and make any necessary corrections.          3      hereby certify that I have read the foregoing
4    You should state the reason in the appropriate         4      pages _____ to _____ and that the same is a
5    space on the errata sheet for any corrections          5      correct transcription of the answers given by
6    that are made.                                         6      me to the questions therein propounded, except
7          After doing so, please sign the                  7      for the corrections or changes in form or
8    errata sheet and date it.                              8      substance, if any, noted in the attached
9          You are signing same subject to the              9      Errata Sheet.
10   changes you have noted on the errata sheet,            10     _______________         _________________________
11   which will be attached to your deposition.             11     DATE              SIGNATURE
12         It is imperative that you return the             12
13   original errata sheet to the deposing attorney         13     Subscribed and sworn to before me this
14   within thirty (30) days of receipt of the              14     ____________ day of __________________, 200__.
15   deposition transcript by you. If you fail to           15
16   do so, the deposition transcript may be deemed         16     My commission expires: _______________________
17   to be accurate and may be used in court.               17
18                                                          18
19                                                          19
20                                                          20     _________________________________
21                                                          21     Notary Public
22                                                          22
23                                                          23
24                                                          24
25                                                          25




                                                      Unsigned                                                     Page 49 - 52
